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     THA BUN HENG
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       )            No. CR-S 04-205-GEB
                                     )
13                  Plaintiff,       )
                                     )            STIPULATION RE: RESENTENCING
14        v.                         )            OF THA BUN HENG
                                     )
15   THA BUN HENG,                   )
                                     )            Hon. Garland E. Burrell, Jr.
16                  Defendant.       )
     _______________________________ )
17
18         In a written order filed March 12, 2008, the Ninth Circuit granted the parties’
19   stipulated motion to vacate the sentences of defendants Tha Bun Heng, Chhom Mao, and
20   Clevie Earl Buckley, Jr., and to remand for reconsideration of their sentences in light of
21   the Supreme Court’s intervening decision in Kimbrough v. United States, 128 S.Ct. 558
22   (Dec. 10, 2007). On remand, the defendant Tha Bun Heng, through his attorney John
23   Balazs, and the the United States, through its counsel, Assistant U.S. Attorney Carolyn
24   Delaney, hereby stipulate and request that Heng be re-sentenced to 121 months
25   imprisonment as follows:
26         1.     After a jury trial, defendant Tha Bun Heng was convicted of one count of
27   possession with intent to distribute cocaine base and one count of distribution of cocaine
28   base. On April 13, 2007, the district court determined that Heng’s total offense level was
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1    34 and his criminal history category was II. As a variance under 18 U.S.C. § 3553(a), the
2    Court reduced his criminal history category from II to I so as not to count his juvenile
3    conviction, and determined his final guideline range to be 151-188 months. The Court
4    then sentenced Heng to the bottom of the guideline range, or 151 months imprisonment.
5    In so doing, the Court rejected Heng’s argument that the 100:1 crack versus powder
6    cocaine quantity ratio warranted a below-guidelines sentence in light of all the
7    circumstances of this case under § 3553(a).
8          2.     After sentencing, the Supreme Court decided Kimbrough v. United States,
9    128 S.Ct. 558, 664 (Dec. 10, 2007), which held that district courts may consider the
10   disparity between the Guidelines’ treatment of crack and powder cocaine offenses in
11   determining what sentence is sufficient, but not greater than necessary to satisfy, the
12   purposes of sentencing in § 3553(a). In light of the intervening precedent of Kimbrough,
13   the Ninth Circuit granted the parties’ stipulated motion to vacate the defendant’s sentence
14   and to remand for re-sentencing. See Attached Order, filed March 12, 2008. The Ninth
15   Circuit issued its mandate on May 2, 2008.
16         3.     At his initial sentencing, Heng’s offense was found to have involved 375.52
17   grams of cocaine base, which equated to a level 34 at his original sentencing. There were
18   no other adjustments applied to the guideline offense level. Since the original sentencing
19   on April 13, 2007, the U.S. Sentencing Commission amended the guideline offense level
20   for crack cocaine offenses in a way that generally reduces the applicable offense levels in
21   crack cocaine cases by 2-levels. See U.S.S.G. § 2D1.1, (amendment 217) (eff. May 1,
22   2008). This amendment was made retroactive by the Sentencing Commission pursuant to
23   18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10. On remand, Heng is now eligible for a
24   sentence reduction under this retroactive guideline amendment. See United States v.
25   Grissom, No. 06-10688, 2008 U.S. App. Lexis 8024 (Apr. 15, 2008). Heng now moves
26   for a sentencing reduction under this amendment pursuant to 18 U.S.C. § 3582(c)(2).
27   With the 2-level reduction under the retroactive crack cocaine guideline amendment,
28   Heng’s guideline offense level becomes 32 and his final guideline range (with the variance

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1    from criminal history category II to I) is 121-151 months imprisonment.
2          4.     On remand for resentencing and pursuant to Heng’s request 18 U.S.C.
3    § 3582(c)(2), the parties thus stipulate that the Court grant retroactive application of the
4    crack cocaine amendment and stipulate that the appropriate sentence in this case is 121
5    months imprisonment, the bottom of the amended guideline range. The parties agree that
6    this sentence is “sufficient, but not greater than necessary, to comply with” the purposes of
7    sentencing set forth in 18 U.S.C. § 3553(a). The parties also agree that all other aspects of
8    Heng’s sentence on April 20, 2007 shall remain the same. This stipulation does not affect
9    Heng’s right to appeal his convictions in this case and any challenges Heng may have on
10   appeal to his convictions.
11         5. Defendant Tha Bun Heng is currently incarcerated at FCI California City,
12   California. Heng has been advised of his right to be present for resentencing. Pursuant to
13   Federal Rule of Criminal Procedure 43(c)(1)(B), Heng has executed the attached waiver of
14   his right to be present at any re-sentencing proceeding. He also waives his rights to be
15   present and to allocution at re-sentencing. He also agrees to the stipulated sentence of 121
16   months imprisonment.
17                                                 Respectfully submitted,
18
19         DATED: May 12, 2008
                                                   /s/ John Balazs
20                                                 JOHN BALAZS
                                                   Attorney for Defendant
21                                                 THA BUN HENG
22
23         DATED: May 13, 2008
                                                   McGREGOR W. SCOTT
24                                                 U.S. Attorney
25
                                             By:   /s/ Carolyn Delaney
26                                                 CAROLYN DELANEY
                                                   Assistant U.S. Attorney
27
                                                   Attorney for Plaintiff
28                                                 United States of America

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1                           DEFENDANT THA BUN HENG’S
                       WAIVER OF PRESENCE AT RE-SENTENCING
2
3          I, Tha Bun Heng, am currently incarcerated at FCI California City, California. I
4    have been advised of my right to be present for re-sentencing. I knowingly and
5    voluntarily waive my right to be present and my right to allocution at re-sentencing. I also
6    agree to the stipulation for a 121 month sentence on remand after my appeal.
7          DATED: May 12, 2008
8
9                                                 /s/ Tha Bun Heng
                                                  THA BUN HENG
10                                                Defendant
                                                  [original signature on file]
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1                                             ORDER
2          For the reasons set forth in the attached stipulation of the parties, on remand from
3    appeal, the Court hereby re-sentences defendant Tha Bun Heng to 121 months
4    imprisonment in United States v. Heng, CR 04-205-GEB. All other aspects and conditions
5    set forth in the judgment filed on April 20, 2007 shall remain the same. The clerk is
6    directed to issue an amended judgment reflecting the new sentence.
7    Dated: May 14, 2008
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9                                           GARLAND E. BURRELL, JR.
10                                          United States District Judge

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